         Case 3:20-cv-00464-MPS Document 54 Filed 08/12/20 Page 1 of 12



                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT
MICHAEL AMATO, et al.,                                :               3:20-cv-00464-MPS
     Plaintiffs,                                      :
             v.                                       :
MAYOR JUSTIN ELICKER, et al.                          :
     Defendants.                                      :               August 12, 2020
 Defendant Governor Lamont’s Reply Memorandum in Support of his Motion to Dismiss
                      Plaintiffs’ Second Amended Complaint
I.     Plaintiffs Have Either Explicitly or Implicitly Conceded that they Lack Standing to
       Bring Nearly All of their Claims
       The Governor argued that this Court’s prior ruling denying Plaintiffs’ motion for

preliminary injunctive relief coupled with Plaintiffs’ failure to use their opportunities to amend

to cure the defects in Plaintiffs’ standing that this Court identified in its ruling established that

Plaintiffs have not met their burden to show standing. Defendant Governor Lamont’s

Memorandum in Support of his Motion to Dismiss Plaintiffs’ Second Amended Complaint, pp.

10-13 (ECF No. 48-1) (“MIS”). In response, Plaintiffs explicitly concede that they lack standing

for several of their claims and implicitly concede that they lack standing for nearly all of their

others. See Memorandum of Law in Opposition to Governor Lamont’s Motion to Dismiss

Plaintiff’s [sic] Second Amended Complaint, pp. 11-13 (ECF No. 52) (“Opp.”).

       Specifically, Plaintiffs explicitly “concede that the constitutional rights that they assert in

Counts Eight through Ten are personal rights guaranteed to individuals only, not corporations”

and that the LLC Plaintiff lacks standing to pursue those claims. Id. at 13. Plaintiffs implicitly

concede that the individual Plaintiffs lack standing to pursue Count Eleven, and that all Plaintiffs

lack standing to pursue Counts Ten and Twelve—the Governor explicitly argued that (as this

Court already held) the individual Plaintiffs lacked standing to pursue any claims based on

financial injuries to the LLC Plaintiff and that “the LLC cannot bring the substantive due process

claims referenced in Counts Ten and Twelve.” MIS, p. 12. Plaintiffs offer no argument to the

                                                 1
        Case 3:20-cv-00464-MPS Document 54 Filed 08/12/20 Page 2 of 12



contrary on either of those points, explicitly concede that the LLC lacks standing to bring Count

Ten, and offer no basis to treat Count Twelve differently.

       Plaintiffs have fallen far short of meeting their burden to establish standing. This Court

and other “[c]ourts in this Circuit have presumed that plaintiffs have abandoned their claims

when they do not oppose a motion to dismiss them.” Thurmand v. Univ. of Connecticut, 2019

WL 369279, at *3 (D. Conn. Jan. 30, 2019) (Hall, J.). That principle applies with equal force to

Plaintiffs’ failure to address defects in their standing; although federal courts are “obliged to

examine standing sua sponte” to identify defects in their jurisdiction, plaintiffs can—and do—

abandon arguments in favor of standing and Plaintiffs did so here. Adarand Constructors, Inc. v.

Mineta, 534 U.S. 103, 110 (2001) (Per Curiam) (holding that the principle that the court must

examine standing sua sponte even on appeal did not extend to arguments in favor of standing).

       That leaves the individual Plaintiffs’ claims in Counts Eight and Nine, and the LLC

Plaintiff’s claims in Count Eleven. This Court found that the individual Plaintiffs’ allegations to

support their First Amendment claims in Counts Eight and Nine of their Original Complaint

were insufficient to support standing, Plaintiffs failed to make any amendments that even

arguably cured those defects, the Governor pointed out Plaintiffs’ failure to cure, and Plaintiffs

made no argument in response. See MIS, pp. 12-13 & n.13. That warrants dismissal of those

claims. See, e.g., Thurmand, 2019 WL 369279, at *3. The sole claim against the Governor for

which Plaintiffs have not conceded they lack standing is the LLC Plaintiff’s taking claim in

Count Eleven. This Court lacks jurisdiction over that claim for other reasons that will be

discussed below.

II.    Plaintiffs’ Opposition Does Nothing to Undermine the Governor’s Eleventh
       Amendment Argument
       Established Supreme Court and Second Circuit precedent holds that the Eleventh

                                                2
        Case 3:20-cv-00464-MPS Document 54 Filed 08/12/20 Page 3 of 12



Amendment bars Plaintiffs’ official capacity claims against the Governor. See MIS, pp. 6-8. To

the extent Plaintiffs’ response to the Governor’s argument based on that precedent can be

understood, it should do nothing to save Plaintiffs’ claims from dismissal. See Opp., pp. 4-9.

       Plaintiffs start with an argument that Alden v. Maine, 527 U.S. 706 (1999), effectively

overruled over a century of Supreme Court precedent sub silentio and established “that the

Fourteenth Amendment supersedes Eleventh Amendment immunity.” Opp., p. 5. Plaintiffs do

not cite a single case from any jurisdiction reaching that conclusion. That is because it is

obviously wrong. Alden expanded states’ sovereign immunity by holding as a matter “of first

impression,” that the Constitution did not give Congress the “authority under Article I to

abrogate a State’s immunity from suit in its own courts.” Alden, 527 U.S. at 741.

       Plaintiffs apparently base their argument on Alden’s unremarkable statement that “‘[i]n

adopting the Fourteenth Amendment, the people required the States to surrender a portion of the

sovereignty that had been preserved to them by the original Constitution.’” Opp. at 5 (quoting

Alden, 527 U.S. at 756). Plaintiffs’ quotation omits an ellipsis; Plaintiffs left out the crucial

remainder of the sentence, in which the Supreme Court said that the surrender it was referencing

(and on which Plaintiffs rely) allowed “Congress [to] authorize private suits against

nonconsenting States pursuant to its § 5 enforcement power.” Alden, 527 U.S. at 756. That does

not help Plaintiffs here. Plaintiffs apparently concede—as they must—that the Supreme Court

has held that 42 U.S.C. § 1983 (on which Plaintiffs’ claims are based) does not abrogate the

Governor’s Eleventh Amendment immunity and that this Court is bound by that precedent. Opp.

at 6 & n.6. Therefore, Plaintiffs offer no basis to question the Governor’s argument that the

Eleventh Amendment bars Plaintiffs’ official capacity damages claims.

       That includes the LLC Plaintiff’s taking claim in Count Eleven (the only claim for which

                                                3
            Case 3:20-cv-00464-MPS Document 54 Filed 08/12/20 Page 4 of 12



Plaintiffs have not conceded that they lack standing). The Governor pointed out that “[e]very

‘court of appeals to have decided the question’”—including the Second Circuit—“‘has held that

the Takings Clause does not override the Eleventh Amendment.’” MIS, pp. 6-7 (quoting Hutto v.

S.C. Ret. Sys., 773 F.3d 536, 553 (4th Cir. 2014), and citing cases including Knight v. New York,

443 F.2d 415 (2d Cir. 1971)). Consistent with those cases, a district court recently held that the

Eleventh Amendment barred takings claims based on a Governor’s COVID-19 Orders. See id. at

6 & n.4 (citing Martinko v. Whitmer, 2020 WL 3036342, at *2 n.2 (E.D. Mich. June 5, 2020)).

           Plaintiffs do not address any of those cases. Rather, they assert that the Supreme Court’s

decision in Knick v. Township of Scott, Pennsylvania, 139 S. Ct. 2162, 2171 (2019), establishes

that because the Fifth Amendment’s taking provision “was incorporated against the states by the

Fourteenth Amendment, it supersedes the Eleventh Amendment’s sovereign immunity.” Opp., p.

8. The core problem with Plaintiffs’ argument is that Knick had nothing to do with the Eleventh

Amendment. As the cases the Governor cited pointed out, the defendant in Knick “was a

Pennsylvania township” that was not protected by the Eleventh Amendment and Knick does not

“suggest[ ] that a state is not entitled to Eleventh Amendment immunity as to a Fifth Amendment

takings claim asserted in federal court.” Martinko, 2020 WL 3036342, at *2 n.2 (emphasis in

Martinko). In addition to the district court’s decision in Martinko, the two circuits to have

addressed the question have “held that Knick does not alter traditional principles of state

sovereign immunity.” Bay Point Properties, Inc. v. Mississippi Transportation Comm’n, 937

F.3d 454, 457 (5th Cir. 2019), cert. denied, 140 S. Ct. 2566 (2020) (citing Williams v. Utah

Dep’t of Corr., 928 F.3d 1209, 1214 (10th Cir. 2019)). Plaintiffs have offered no reason for this

Court to rule contrary to those courts, nor is any reason evident. 1 That should be fatal to


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    Plaintiffs point out that the Takings Clause is self-executing, but “‘the constitutionally grounded self-executing
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          Case 3:20-cv-00464-MPS Document 54 Filed 08/12/20 Page 5 of 12



Plaintiffs’ taking claims in their entirety. 2

         It has long been—and remains—established that “‘[t]he Eleventh Amendment bars the

award of money damages against state officials in their official capacities.’” MIS, p. 6 (quoting

Ford v. Reynolds, 316 F.3d 351, 354 (2d Cir. 2003)). Plaintiffs’ request that this Court award

them “retrospective relief” in connection with “their claims for damages as a matter of law,”

Opp., p. 8, is precisely the type of “dispute about the lawfulness of [a state official’s] past

actions” seeking an “award of money damages” that the Eleventh Amendment “prohibit[s].”

Green v. Mansour, 474 U.S. 64, 73 (1985).

         Plaintiffs’ argument should fare no better to the extent it relies on the Ex Parte Young

doctrine. Opp., p. 8. As a threshold matter, the Ex Parte Young doctrine is not applicable to

taking claims; “[t]he Supreme Court has held that ‘[e]quitable relief is not available to enjoin an

alleged taking of private property for a public use, duly authorized by law, when a suit for

compensation can be brought against the sovereign subsequent to the taking.’” Atwood v.

Strickler, 2020 WL 3549662, at *5 (D. Or. June 29, 2020) (quoting Ruckelshaus v. Monsanto

Co., 467 U.S. 986, 1016 (1984)). As another court recently held in the context of a taking

challenge to a Governor’s COVID-19 Order, “even if the Stay at Home Order was ‘a plain,

palpable invasion’ of Plaintiffs’ Fifth Amendment rights [under Jacobson v. Commonwealth of

Mass., 197 U.S. 11 (1905))], Plaintiffs would not be entitled to the requested [injunctive] relief

because damages—not injunctive relief—are the proper remedy for a taking.” Prof’l Beauty

Fed’n of California v. Newsom, 2020 WL 3056126, at *8 (C.D. Cal. June 8, 2020).

         More broadly, Plaintiffs acknowledge that all of their claims in their operative Complaint

nature of the Takings Clause does not alter the application of the Eleventh Amendment.’” Hutto, 773 F.3d at 553
(quoting Seven Up Pete Venture v. Schweitzer, 523 F.3d 948, 954 (9th Cir. 2008), and citing other cases).
2
  Plaintiffs correctly do not dispute that official capacity claims “are the only taking claims available.” Gov’s MIS, p.
30 n.20. Therefore, if this Court agrees that the Eleventh Amendment bars Plaintiffs’ official capacity taking claims,
that requires dismissal of Plaintiffs’ taking claims in their entirety.
                                                           5
          Case 3:20-cv-00464-MPS Document 54 Filed 08/12/20 Page 6 of 12



are based on Orders that have been superseded. See id. at 9. “[T]he Eleventh Amendment forbids

federal courts from entering retroactive injunctive relief to remedy past violations of law which

have been mooted by an amendment to a federal law.” Messier v. Southbury Training Sch., 1999

WL 20910, at *20 (D. Conn. Jan. 5, 1999) (Burns, J.) (citing Green, 474 U.S. at 73, and Marbley

v. Bane, 57 F.[3]d 224, 232 (2d Cir. 1995)). That logic applies with equal force here. See, e.g.,

Marbley, 57 F.3d at 232 (affirming the application of Green where the “state rescinded” the

challenged policy during the course of litigation). To the extent (if any) Plaintiffs’ claims could

be viable despite the changes to the Orders, Plaintiffs could have sought leave to supplement

their Complaint to allege facts that would support their claims. Plaintiffs failed to do so, and

offer no explanation for that failure. The Eleventh Amendment bars their claims. 3

III.    Plaintiffs’ Opposition Does Nothing to Undermine the Governor’s Argument that
        Plaintiffs’ Prospective Claims are Moot
        The Governor argued that Plaintiffs’ prospective claims are moot, with citations to

several Second Circuit decisions under analogous circumstances outside the COVID-19 context

as well as multiple district court decisions holding challenges to Governors’ COVID-19 Orders

moot. MIS, pp. 8-10. Plaintiffs do not address any of those cases in their Opposition.

        Instead, Plaintiffs offer two arguments. Both lack merit. First, Plaintiffs assert that their

claims are not moot because “[t]he issue in this case is not whether the Governor possesses the

lawful authority to order a specific numeric limit on the number of people who can congregate in

public, but whether he has the authority to issue such a mandate regardless of the number,

whether the number be two, five, ten or 100.” Opp., p. 10. As an initial matter, this argument is

limited to Plaintiffs’ claims based on public gatherings—Plaintiffs apparently concede that their

claims based on other limitations posed by the challenged Orders but now superseded are moot.

3
  Plaintiffs expressly concede that the Eleventh Amendment bars their claims to the extent they are based on state
law and simply “preserve this issue for appeal.” Pls’ Opp., p. 8.
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         Case 3:20-cv-00464-MPS Document 54 Filed 08/12/20 Page 7 of 12



In any event, Plaintiffs’ operative Complaint challenges a putative “ban[ ]” on “all gatherings of

people that exceeded five in number, except for religious and social gatherings” that no longer

exists. Second Amended Complaint, ¶ 22 (ECF No. 41) (“2dAC”). Plaintiffs cannot avoid

dismissal by re-writing their Complaint in their Opposition.

       Plaintiffs’ second argument is that, even if their challenges are moot, they come within

the exception to mootness for issues that “are capable of repetition yet evading review.” Opp., p.

10. The Governor cited several cases rejecting similar arguments, and Plaintiffs do not address—

let alone persuasively distinguish—any of them. The capable of repetition yet evading review

“exception to mootness principles is severely circumscribed.” Knaust v. City of Kingston, 157

F.3d 86, 88 (2d Cir. 1998). Plaintiffs have offered no basis to find that it applies here.

Speculation is not enough; both the Supreme Court and the Second Circuit have made clear that

it will not “suffice to hypothesize the possibility that at some future time, under circumstances

that could only be guessed at now, the parties could theoretically become embroiled in a like

controversy once again.” Id.; see also Murphy v. Hunt, 455 U.S. 478, 482 (1982) (Per Curiam).

IV.    Plaintiffs’ Opposition Does Nothing to Undermine this Court’s Correct Conclusion
       that Jacobson Controls
       The Governor pointed out that this Court has already found that Jacobson controls here

and that this Court’s decision was consistent with both the “chorus of other federal courts” that

have applied Jacobson in the context of COVID-19 Orders and the multiple Circuit courts that

have granted mandamus relief where district courts failed to apply Jacobson. MIS, pp. 13-14.

Plaintiffs disregard that authority and call the Governor’s (and by extension this Court’s) reliance

on Jacobson “grossly misplaced.” Opp., p. 10. Like many of Plaintiffs’ other arguments, this one

disregards the foundational principle that “[f]ederal district courts and circuit courts are bound to

adhere to the controlling decisions of the Supreme Court.” Wallace v. Jaffree, 472 U.S. 38, 47

                                                 7
         Case 3:20-cv-00464-MPS Document 54 Filed 08/12/20 Page 8 of 12



n.26 (1985) (quotation marks omitted) (citing Hutto v. Davis, 454 U.S. 370, 375 (1982)).

Regardless of what Plaintiffs think of Jacobson, it controls here.

V.     Plaintiffs’ First Amendment Claims Would Fail on their Merits Even Without the
       Latitude Jacobson Gives the Governor in Responding to the COVID-19 Pandemic
       Plaintiffs represent that “Governor Lamont relies wholly on Jacobson.” Opp., p. 14. That

is false. The Governor noted that “[t]his Court has already correctly found that Plaintiffs’ First

Amendment association and assembly claims would fail even under traditional First Amendment

analysis,” that Plaintiffs’ amendments did not cure those defects, and that this Court should

therefore dismiss Plaintiffs’ claims, “even without reliance on Jacobson.” MIS, p. 15.

       Plaintiffs’ Opposition does not explicitly address this Court’s prior analysis, or attempt to

explain why this Court’s prediction that “Plaintiffs are not likely to succeed on the merits of

either their assembly or their association claim” was incorrect. Amato v. Elicker, 2020 WL

2542788, at *9 (D. Conn. May 19, 2020). Nor is any credible argument evident. The challenged

“restrictions are content neutral,” they are even more “‘narrowly tailored’” now than they were at

the time of this Court’s initial ruling, and they continue to “leave[ ] open alternative channels of

expression.” Id. at *11 (quoting Ward v. Rock Against Racism, 491 U.S. 781, 791 (1989)).

       That alone should be dispositive, but—despite multiple opportunities—Plaintiffs also

failed to cure the other defects in their First Amendment claims. Specifically, Plaintiffs did not

allege any facts concerning the nature or purpose of the conduct in which they intended to

engage. Tellingly, Plaintiffs failed to even reference—let alone persuasively distinguish—the

binding Second Circuit precedent the Governor discussed that holds that Plaintiffs’ association

claims should be dismissed “because Plaintiffs ‘do[ ] not allege’ that they were ‘engaged in any

expressive conduct’ impacted by the Orders.” MIS, p. 19 (quoting Salmon v. Blesser, 802 F.3d

249, 256 (2d Cir. 2015)). Plaintiffs also utterly fail to reckon with this Court’s correct

                                                 8
          Case 3:20-cv-00464-MPS Document 54 Filed 08/12/20 Page 9 of 12



observation that “the Second Circuit has specifically held that the relationships between a

restaurant owner and her customers or employees are not protected by the First Amendment.”

Amato, 2020 WL 2542788, at *12 (citing Michaelidis v. Berry, 502 F. App’x 94, 96–97 (2d Cir.

2012) (Summary Order)). Plaintiffs’ First Amendment claims against the Governor would fail,

even if the Governor did not have the latitude Jacobson grants him in this pandemic.

VI.     Plaintiffs’ Opposition Does Nothing to Undermine the Governor’s Argument that
        this Court Should Dismiss Plaintiffs’ Right to Pursue a Living Claims
        Plaintiffs characterize their claims in Count Ten as based on the “fundamental

unenumerated right to pursue an honest living” the Supreme Court recognized “in Dent v. West

Virginia.” Opp., p. 14. By its terms, the right Plaintiffs claim is subject to “‘such restrictions as

are imposed upon all persons of like age, sex, and condition.’” Id. (quoting Dent v. West

Virginia, 129 U.S. 114, 121-22 (1889)). Plaintiffs do not allege any that the Governor subjected

them to any restrictions that were not also imposed on everyone else of Plaintiffs’ age, sex, and

condition. That requires dismissal of Plaintiffs’ claims to the extent they are based on Dent. See,

e.g., Erotic Serv. Provider Legal Educ. & Research Project v. Gascon, 880 F.3d 450, 459 (9th

Cir.), amended, 881 F.3d 792 (9th Cir. 2018).

        That should be dispositive, but Plaintiffs send mixed messages regarding the basis for

their claims. On the one hand, Plaintiffs explicitly base their claims on Dent. On the other hand,

Plaintiffs characterize their claims as based on a substantive due process 4 “right to pursue an

honest living.” 2dAC, ¶ 76. The Governor argued that such a right does not appear in Dent or, for

that matter, anywhere else. MIS, p. 24. Plaintiffs apparently concede the “truth” of that

contention, but argue that this Court “still has an obligation to conduct an analysis” of whether to

create such a right. Opp., p. 25. To the extent Dent spoke in this area, this Court lacks the

4
  Plaintiffs concede that Supreme Court precedent bars Count Ten to the extent it is based on the Privileges or
Immunities Clause and this Court is bound to dismiss that aspect of it. Pls’ Opp., pp. 28-29.
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          Case 3:20-cv-00464-MPS Document 54 Filed 08/12/20 Page 10 of 12



authority to create a broader right. See, e.g., Wallace, 472 U.S. at 47 n.26.

VII.     Plaintiffs’ Opposition Does Nothing to Undermine the Governor’s Argument that
         this Court Should Dismiss Plaintiffs’ Taking Claims
         Plaintiffs do not dispute that the Fifth Amendment itself is not applicable here. See MIS,

pp. 28-29. That requires dismissal of Count Eleven. See, e.g., Thurmand, 2019 WL 369279, at

*3. This Court should also dismiss any taking claims Plaintiffs purport to assert through the

Fourteenth Amendment to the extent it incorporates the Fifth Amendment. Puzzlingly, Plaintiffs

represent that the Governor did not challenge any regulatory taking claims they assert. Opp., p.

29. Again, that is false. See MIS, pp. 29-33. Plaintiffs’ Opposition otherwise distorts the

Governor’s takings argument and the precedent on which the Governor’s argument relies. 5

Plaintiffs make no effort to identify their claimed property interest, make the odd argument that

“merely detroy[ing]” property is less of a taking than temporary limiting property’s use, and

distinguish some of the Supreme Court precedent the Governor relied on because it putatively

has “only been applied in war time under fortunes of war reasoning 6,” Opp., pp. 30-31, without

acknowledging that the Governor pointed out that the Supreme Court has applied the same

principle “to actions taken by a state to limit the spread of disease outside the war context.” MIS,

p. 31 (citing Miller v. Schoene, 276 U.S. 272, 277-81 (1928)). 7

                                                                         Respectfully submitted,



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  Those are far from the only distortions in Plaintiffs’ filings. For example, in their injunction materials, Plaintiffs
distorted the Governor’s Orders. That continues here. Plaintiffs represent that the Orders do not require the counting
of the number of “people in a grocery store at any given time,” Opp., p. 21, when—in fact—under the challenged
Orders and related guidance “occupancy of most stores (including grocery stores) is ‘capped at 50% of store
capacity’ and ‘[a]t [the] entrance, staff will maintain a count of the number of customers entering and exiting
stores.’” Defendant Governor Lamont’s Memorandum in Opposition to Plaintiffs’ Motion for Temporary
Restraining Order and Preliminary Injunction, p. 31 (ECF No. 21) (quoting exhibits).
6
  As is their wont, Plaintiffs also argue that this Court should adopt the position of the Supreme Court dissent,
disregarding that this Court is bound by the majority opinion. Opp., p. 31.
7
  Although space constraints preclude further analysis, all of Plaintiffs’ other arguments—including their arguments
that the Governor exceeded the latitude Jacobson grants him and their immunity arguments—lack merit for the
reasons set forth in the Governor’s other filings.
                                                          10
Case 3:20-cv-00464-MPS Document 54 Filed 08/12/20 Page 11 of 12



                                   DEFENDANT

                                   GOVERNOR NED LAMONT

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                              11
        Case 3:20-cv-00464-MPS Document 54 Filed 08/12/20 Page 12 of 12



                                CERTIFICATE OF SERVICE
       I hereby certify that on August 12, 2020, a copy of the foregoing was electronically filed.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s system.


                                                     /s/ Robert J. Deichert
                                                     Robert J. Deichert
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                                               12
